Case 1:21-cr-20067-MGC Document 26 Entered on FLSD Docket 02/03/2021 Page 1 of JA
                                                                               13


                                                                                             Feb 3, 2021
                              UN IT ED STA TES D ISTR IC T C O URT
                              SO UTH ERN D ISTR ICT O F FLO R ID A
           21-20067-CR-COOKE/O'SULLIVAN
                    C A SE N O .
                                          18 U.S.C.j371
                                          18 U.S.C.j982(a)(2)(A)
   UN ITED STA TES O F A M ER ICA

   5r:.

   LA TO Y A STA NL EY and
   JO H N NY PH ILU S,

                 D efendants.
                                                  /

                                          IN FO R M AT IO N

          The United States Attorney chargesthat:

                                   G EN ER AL AL LEG AT IO N S

          Atalltim es m aterialto this lnform ation:

                      Overview ofthe Paycheck Protection Prozram (diPPP'')

                 ln or around M arch 2020.the Coronavirus A id,Relief,and Econom ic Security

   (''CARES'') Act was enacted to provide emergency tinancial assistance to the millions of
   A m ericans who w ere suffering the econom ic effects caused by the CO V ID-19 pandem ic. One

   source of relief provided by the CARES Act was the authorization of up to $349 billion in

   forgivableloanstosmallbusinessesforjobretentionandcertainotherexpenses,throughthePPP.
   ln oraround April2020,Congressauthorized over$300 billion in additionalPPP funding.
                 In order to obtain a PPP loan,a qualif-
                                                       ying business was required to subm ita PPP

   loan application,w hich wassigned by an authorized representative ofthe business. The PPP loan

   application required the business (through its authorized representative)to acknowledge the
   program rules and m ake certain affirm ative certiticationsin orderto be eligible to obtain the PPP
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   loan. lnthePPP loan application,thesmallbusiness(through itsauthorized representative)was
   requiredtostate,amongotherthings,its:(a)averagemonthly payrollexpenses'
                                                                         ,and (b)number
   ofem ployees. These tigures w ere used to calculate the am ountofm oney the sm allbusinessw as

   eligible to receive under the PPP. ln addition,businesses applying for a PPP loan were required

   to provide docum entation to the lending institution show ing their payroll expenses'
                                                                                       , typically,

   businesses would supply docum ents show ing the am ountofpayrolltaxes reported to the Internal

   RevenueService(i-lRS'').
                 A PPP loan application w asrequired to be processed by a participating lender. lfa

   PPP loan application wasapproved,the participating lenderfunded the PPP loan using itsown

   monies,whichwere 100% guaranteedbytheSmallBusinessAdministration(''SBA'').Datafrom
   the application,including infonnation aboutthe borrower,the totalam ountof the loan,and the

   listed num berofem ployees,w ere transm itted by the lenderto the SBA in the course ofprocessing

   the loan.

                 PPP loan proceedsw ere required to be used by the business on certain pennissible

   expenses payrollcosts,intereston m ortgages,rent,and utilities. The PPP allow ed the interest

   and principalon the PPP loan to be entirely forgiven if the business spent the loan proceeds on

   these expense item s w ithin a designated period of tim e after receiving the proceeds and used a

   certain am ountofthe PPP loan proceeds on payrollexpenses.

               Overview ofthe Econom icIniurv DisasterLoan (ûiEIDL'')Prozram

                 The EID L program w as an SBA program thatprovided low -interesttinancing to

   sm allbusinesses,renters,and hom eow ners in regionsaffected by declared disasters.

          6.     The CARES Actalso authorized the SBA to provide EIDLSofup to $2 m illion to
   eligible sm all businesses experiencing substantial financial disruption due to the COV lD-l9
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   pandemic.ln addition,the CARES Actauthorized theSBA to issue advancesofup to $10,000 to

   sm all businesses w ithin three days of applying for an EID L.The am ount of the advance w as

   determ ined by the num ber of em ployees the applicantcertitied as having.The advances did not

   have to be repaid.

                 ln order to obtain an EID L and advance, a qualifying business w as required to

   subm itan application to the SBA and provide inform ation aboutitsoperations,such asthe num ber

   ofem ployees,gross revenues for the lz-m onth period preceding the disaster,and costof goods

   sold in the lz-m onth period preceding the disaster. ln the case ofEID LS for COV lD -19 relief,the

   lz-m onth period w as thatpreceding January 31,2020. The applicantwas also required to certify

   that a1lof the inform ation in the application was true and correct to the best ofthe applicant's

   know ledge.

                 EID L applicationsw ere subm itted directly to the SBA . The am ountofthe loan,if

   the application w as approved,w asdeterm ined based,in part,on the inform ation provided by the

   applicantaboutem ploym ent,revenue,and cost ofgoods,as described above. A ny funds issued

   underan EID L oradvance w ere issued directly by the SBA . EID L fundscould be used forpayroll

   expenses,sick leave,production costs,and businessobligations,such as debts,rent,and m ortgage

   paym ents. lfthe applicantalso obtained a loan underthe PPP,the EID L funds could notbe used

   forthe sam e purpose as the PPP funds.

                               T he Defendants and R elevantEntities

          9.     LATO YA STAN LEY wasa residentofM iam i-D ade County,Florida.

          10.    JO H N N Y PH ILU S w as a residentofM iam i-Dade County,Florida.

                 LATO Y A STA NL EY and JO H NN Y PH IL US lived togetherand w ere rom antic

   partners.
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          12.     Dream GurlBeauty Supply,LLC (hereinafter,-èDream Gur1'-) was a Florida
   corporation thatw as first registered w ith the Secretary of State of Florida in 20ll. LA TO Y A

   STANLEY andJOHNNY PHILUS wereboth listed asChiefExecutive Ofticers(iiCEOs'')of
   the com pany. Dream Gurlw as in inactive status untilitfiled for reinstatem enton or aboutM ay

   3,2020.

                  Elegance Auto Boutique, LLC (hereinafter, 'ûElegance Auto'') was a Florida
   corporation thatw as tirst registered w ith the Secretary of State of Florida in 2011. JO H NN Y

   PH ILUS w asthe listed CEO . Elegance A uto w as in inactive status untilitfiled forreinstatem ent

   on oraboutM ay l,2020.

                  Bank 1 w as a federally insured nationalbank based in Utah.

                  Bank 2 wasa federally insured nationalbank based in N ol'
                                                                          th Carolina w ith branches

   nationw ide.

          l6.     Bank l and Bank 2 w ere SBA -approved lenders and participated in the PPP as

   lenders to sm allbusinesses.

                  Com pany 1 participated in the PPP as a non-bank lender as w ellas an entity that

   connected applicantsw ith otherlenders. Sm allbusinessesseeking PPP loanscould apply through

   Com pany lforPPP loans.Com pany 1subsequently partnered w ith variousbanks,including Bank

   l,to disburse the loans.

                          CO N SPIR ACY TO C O M M IT W IR E FR A UD
                                          (18U.S.C.j371)
          From in or around M ay 2020,through in or around A ugust2020,in M iam i-Dade C ounty,

   in the Southern D istrictofFlorida,and elsew here,the defendants,

                                      JO H NN Y PH ILU S and
                                       LA TO Y A ST AN LEY ,
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   didwillfully,thatis,withtheintenttofurthertheobjectoftheconspiracy,andknowinglycombine,
   conspire,cont-
                ederate,and agree w ith each other,and w ith others known and unknow n to the

   U nited States Attorney,to com m itcertain offensesagainstthe U nited States,nam ely,w ire fraud,

   thatis,to know ingly,and w ith the intentto defraud,devise,and intend to devise,a schem e and

   artifice to defraud,and to obtain m oney and property by m eans ofm aterially false and fraudulent

   pretenses, representations, and prom ises, know ing that the pretenses, representations, and

   prom iseswere false and fraudulentw hen m ade,and,forthepurposeofexecuting such schem e and

   artitice,did know ingly transm itand cause to be transm itted,by m eans ofw ire com m unication in

   interstate and tbreign com m erce.certain w ritingsssigns.signals,pictures,and sounds,in violation



                                PURPQ NE O F THE CO NSPIM CY
                 lt w as a purpose of the conspiracy for the defendants and their conspirators to

   unlawfully enrich themselvesby obtaining COVlD-19 disasterreliefrelated loan proceedsunder

   false and fraudulent pretenses, including by m aking false statem ents about the num ber of

   em ployees and payrollof businesses thatthe defendants controlled,in an effortto obtain funds

   from the SBA and certified lendersparticipating in SBA program s.

                        M A NN ER AN D M EA N S O F TH E CO N SPIM CY

          The m anner and m eans by w hich the defendants and their co-conspirators sought to

   accomplishtheobjectandpurposeoftheconspiracyincluded,amongothers,thefollowing:
          19.    ln oraround M ay 2020,JO H N NY PH ILU S,LA TO Y A STA N LEY ,and theirco-

   conspirators subm itted and caused the subm ission of online PPP applications, using interstate

   wires,to Com pany 1, on behalf of Elegance A uto and D ream Gurl, in which PH ILU S and

   STA NLEY falsely certified thata11representations in the applicationsw ere true.
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          20.    In the respective PPP loan applications for Elegance A uto and D ream G url,

   JO H N NY PH ILUS, LATO Y A STA N LEY ,and their conspirators m ade false and fraudulent

   representationsregarding thenum berofem ployeesand payrollforthese businesses,and subm itted

   false and fraudulentpurported tax recordsin suppol'tthereof. Forexam ple,in the PPP application

   subm itted on behalf ofElegance Auto,PH ILU S claim ed to be the C EO and thatElegance Auto

   had 29 employeeswith a monthly payrollof$215,330.In sim ilarfashion,in thePPP application

   subm itted on behalfofD ream Gurl,STA N LEY claim ed to be the CEO and thatDream Gurlhad

   18 employees with a monthly payroll of $121,144. Contrary to these representations, as
   STA NLEY and PH ILU S then and there w ellknew ,neitherElegance A uto nor Dream Gurlhad

   any em ployees orm onthly payrollatthattim e.

                 A s a result of their false and fraudulent loan applications,JO H N N Y PH ILUS,

   LATO Y A STA NLEY , and their co-conspirators caused Bank l, a partner of Com pany 1,to

   disburse hundredsofthousandsofdollarsin PPP fundsto STA NL EY and PH ILUS. Specitically,

   approximately $538,325 in PPP funds were disbursed to PHILUS as a resultofthe false and

   fraudulentPPP application forElegance Auto,and approxim ately $302,860 in PPP fundswere
   disbursed to STA NLEY asa resultofthe false and fraudulentPPP application forDream Gurl.

                 JO H NN Y PH ILUS and LA TO Y A STA N LEY opened accounts at Bank 2 for

   Elegance Auto and D ream G url,forthe purpose ofreceiving proceedsfrom the PPP fraud schem e.

          23.    A fter receiving the PPP loan funds,JO H N N Y PH ILUS,LAT O Y A STAN LEY ,

   and theirco-conspiratorssoughtto launderthe proceedsby using athird-party payrollprocessor

   to distribute the funds to individuals thatPH ILU S and STA N LEY claim ed w ere em ployees,but

   who w ere,in fact,friends and fam ily m em bers.

                 In oraround June 2020,JO H N NY PH IL US,LA TO Y A ST AN LEY ,and theirco-
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   conspirators also submitted and caused the subm ission offalse and fraudulentapplications for

   EID L loans. Specifically,PH ILUS subm itted and caused the subm ission ofan EID L application

   in which PH ILU S falsely and fraudulently claim ed to be a farm erw ith ten em ployees,w hosefarm

   produced an annualincome ofapproximately $400,262. STANLEY submitted and caused the
   subm ission ofan EID L application in w hich STA N LEY falsely and t-raudulently claim ed to be a

   farmerwith fiveem ployees,whosefarm produced an annualincome ofapproxim ately $899,000.
          25.    Based on the fraudulentrepresentations in the EID L loan applicationssubm itted by

   JO H N NY PH ILUS, LA TO Y A STA N LEY ,and their co-conspirators,the SBA approved the

   loansand soughttodisburseapproximately $150,000to PHILUS,and approxim ately $137,500to
   STA NLEY .

                                           O VE RT A C TS

          lnfurtheranceoftheconspiracyandtoachievetheobjectandpurposethereof,atleastone
   conspirator com m itted and caused to be com m itted in the Southern D istrict of Florida, and

   elsewhere,atleastone ofthe follow ing overtacts,am ong others:

                 O n or about M ay 6,2020,LA TO YA STA N LEY opened a new bank accountat

   Bank 2 forD ream G urlto use forreceiptofPPP fraud proceeds.

                 On oraboutM ay 6,2020,JO H N NY PH ILU S opened a new bank accountatBank

   2 forElegance Auto to use forreceiptofPPP fraud proceeds.

                 O n oraboutM ay 7,2020,JO H N NY PH ILUS and hisco-conspirators caused the

   subm ission of a PPP application to Com pany l on behalfof Elegance A uto,via interstate wire,

   through an online portal.
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          4.     On oraboutM ay 14,2020,LATOYA STANLEY and herco-conspiratorscaused

   the subm ission ofa PPP application to Com pany l on behalf ofD ream Gurl,via interstate wire,

   through an online portal.

                 On oraboutJune l8,2020 JO H N NY PH ILU S and his co-conspiratorscaused the

   submission ofan onlineapplication,viainterstatewire,to the SBA foran approxim ately $150,000
   loan from EID L program .

          6.     On oraboutJune 18,2020 LA TO YA STA NL EY and herco-conspirators caused

   the subm ission of an online application,via interstate w ire,to the SBA for an approxim ately

   $150,000 loan from the EIDL program .

          A 11in violation ofTitle 18,United States Code,Section 371.

                                          FO RFEITU R E
                                     (18U.S.C.j982(a)(2)(A))
                 The allegationsofthis lnform ation are hereby re-alleged and by thisreference fully

   incorporated herein forthe purpose ofalleging forfeitureto the United StatesofA m erica ofcertain

   property in w hich the defendants, LAT O YA STA NLEY and JO H N N Y PH ILU S, have an

   interest.

                 Upon conviction ofTitle 18,United States Code,Section 371,as alleged in this

   lnform ation,any defendant so convicted shalltbrfeit to the U nited States any property,real or

   personal,w hich constitutes,or is derived from ,proceeds traceable to such violation,pursuantto

   Title18,United StatesCode,Section 982(a)(2)(A).
                 lfanyofthepropertysubjecttoforfeiture,asaresultofanyactoromissionofthe
   defendants'
             .

                     a. cannotbe located upon the exercise ofdue diligence;

                     b. has been transferred orsold to,ordeposited w ith,a third party;
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                     c. hasbeenplacedbeyondthejurisdictionofthecourt;
                     d. has been substantially dim inished in value'
                                                                   ,or

                     e. has been com m ingled w ith otherproperty w hich cannotbe divided w ithout

                         difficulty.

   the United States shallbe entitled to forfeiture of substitute property underthe provisions ofTitle

   21,United StatesCode,Section 853(p).
          Al1pursuanttoTitle 18,United StatesCode,Section982(a)(2)(A)and theproceduresset
   forth in Title 21,U nited StatesCode,Section 853,asincorporated by Title l8,U nited StatesCode,

   Section982(b)(1).

                                                AR IA N A FA JA RDO O RSHA N
                                                UN ITED STATES A TTO RN EY
                                                SOU TH ERN D ISTRICT OF FLO RID A


                                                DA N IEL KA HN
                                                ACTIN G C HIEF
                                                FRA U D SECTION ,CRIM IN A L DIV ISION
                                                UN ITED STATES D EPA RTM EN T O F JU STICE


                                                             b:
                                                L    IS M AN ZO ,TRIA L A TTO RN EY
Case 1:21-cr-20067-MGC Document 26 Entered on FLSD Docket 02/03/2021 Page 10 of 13
                                           UNIT ED STATES DISTRICT CO URT
                                           SO UTH ERN DISTRICT O F FLO RIDA

 UNITED STATES O F AM ERICA

                                                          CERTIFICATE O F TRIA L ATTO RNEY*
LatoyaStanley and Johnny Philus
                                                          Superseding Case Inform ation:
                              Defendant.    /

 CourtDivision:(selectone)                                New defendantts)           Yes /'    No
  z     M iam i             Key W est                     Num berofnew defendants          2
        FTL                 W PB                          Totalnum berofcounts             ?

                  Ihave carefully considered theallegations ofthe indictment,the numberofdefendants,the num berof
                  probable witnessesand thelegalcomplexitiesofthelndictm ent/lnformation attached hereto.
                  lam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                  Courtin setting their calendarsand scheduling crim inaltrials underthe mandate ofthe Speedy Trial
                  Act,Title28 U.S.C.Section 3l6l.
                  Interpreter:      (YesorNo)        No
                  Listlanguageand/ordialect
                  Thiscase willtake 0 daysforthepartiesto try.
                  Please check appropriate category and type ofoffenselistedbelow:
                  (Checkonlàone)                                 (t-heckonlyone)

        I         0 to 5 days                   ?'               Petty
        11        6 to l0 days                                   M inor
        IlI       llto 20 days                                   M isdem .
        IV        21to 60 days                                   Felony              ?'
        V         6ldaysand over
        6.        HasthiscasepreviouslybeentiledinthisDistrictCourt?               (YesorNo)
          Ifyes:Judge                                     CaseNo.
          (Attachcopyofdispositiveorder)
          HasacomplaintbeenGledinthismatter?              (YesorNo)         YeS
          Ifyes:M agistrate CaseNo.                       20-m i-03470-AOR
          Related miscellaneousnum bers:
          Defendantts)infederalcustody asof               ArrestedonAucust26.2020-notincustodv
          Defendantts)instatecustodyasof
          Rule 20 from theDistrictof
          lsthisapotentialdeathpenaltycase?(YesorNo)                No
                  Doesthiscase originatefrom am atterpending in theCentralRegion ofthe U.S.Attorney'sOftice
                  priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                    Yes         No ?'
         8.       Doesthiscase originatefrom am atterpending intheNorthern Region U.S.Attorney'sOffice
                  priortoAugust8,2014 (M ag.Judge Shaniek M aynard)?               Yes         No z



                                                                  Lo isM anzo
                                                                  Tri lA ttorney
                                                                  SpecialBarID # A5502685
  *penalty Sheetts)attached
Case 1:21-cr-20067-MGC Document 26 Entered on FLSD Docket 02/03/2021 Page 11 of 13



                             UN IT ED STA TES D ISTRIC T C O U RT
                             SO UT H ER N D IST RIC T O F FLO R IDA

                                        PEN A LTY SH EET

    Defendant's N am e: LA TO YA STA N LEY

    Case N o:

    Count#:1

    Conspiracy to Com m itW ire Fraud

    Title 18,United StatesCode,Section 371

    *M ax.Penalty:Five(5)Years'lmprisonment
     *R efers only to possibleterm ofincarceration,does notinclude possible fines,restitution,
              specialassessm ents,parole term s,or forfeituresthatm ay be applicable.


    Defendant's N am e: JO HN N Y PH ILU S

    Case N o:

    Count#:l

    Conspiracy to Com m itW ire Fraud

    Title 18,United StatesCode,Section 371

    *M ax.Penalty:Five(5)Years'lmprisonment
     *R efers only to possibleterm ofincarceration,does notinclude possible fines,restitution,
              specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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AO 455(Rev.01/09)WaiverofanIndictment

                                U NITED STATES D ISTRICT COURT
                                                     forthe
                                           Southern DistrictofFlorida

               United StatesofAmerica
                           V.
                    Johnny Philus,

                        Defendant

                                        W A IV ER O F A N IN D ICTM ENT

      lunderstand thatIhavebeen accused ofoneormoreoffensespunishableby im prisonm entformore than one
year.lwasadvised in open courtofmy rightsand thenatureofthe proposed chargesagainstme.

       Afterreceiving thisadvice,lwaive my rightto prosecution by indictlnentand consentto prosecution by
infonnation.



D ate:




                                                                          Prinlednt
                                                                                  ?&?trofdefendant'
                                                                                  r               st7//t
                                                                                                       ?r/?cl'
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AO 455(Rev.01/09)Waiverofanlndictment

                                U NITED STATES D ISTRICT COURT
                                                    forthe
                                          Southern DistrictofFlorida

               United StatesofAmerica
                           V.                               C aseN o.
                    Latoya Stanley,

                        Defendant

                                        W AIV ER OF AN INDICTM ENT

       Iunderstand thatIhavebeen accused ofoneormoreoffensespunishableby im prisonmentformorethanone
year. Iwasadvised in open courtofmy rightsand the natureoftheproposed chargesagainstme.

       Afterreceiving thisadvice,lwaive my rightto prosecution by indictmentand consentto prosecution by
information.



Date:




                                                                        Pri
                                                                          ntednal
                                                                                neofdefendant'
                                                                                             stz//tprngl'
